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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MARYLAND
                                    (Greenbelt Division)

In re                                     :
                                          :
GOLD AND SILVER AUTO SALES, LLC,          :                   Case No. 20-14710-TJC
                                          :                   Chapter 11
                  Debtor.                 :
__________________________________________:

             APPLICATION BY DEBTOR TO RETAIN THE LAW OFFICES
                OF PAUL C. BALASSA, LLC AS SPECIAL COUNSEL

        The application of Gold and Silver Auto Sales, LLC (the “Debtor”), seeking to employ

The Law Office of Paul C. Balassa, LLC (“Balassa”) as special litigation counsel, respectfully

represents as follows:

        1.     On April 28, 2020, the Debtor filed a Voluntary Petition under Chapter 11 of the

Bankruptcy Code. The Debtor is a limited liability organized under the laws of the State of

Maryland, operating a vehicle dealership in Laurel Maryland.

        2.     Since filing the case, the Debtor has continued in possession of its property, and

as debtors- in-possession, is continuing to manage its affairs in this case.

        3.     Prior to the commencement of the bankruptcy case, the Debtor was a party to

certain putative class action litigation in the Circuit Court for Prince George's County entitled

McKay et al. v. Gold and Silver Auto Sales, LLC, Case No. 00488 (the “Class Action

Litigation”). In the Class Action Litigation, the plaintiff and similarly situated individuals sought

damages for violations of the Maryland Consumer Protection Act and related causes of action.

        4.     On or about March 10, 2020, the Circuit Court entered judgment in favor of the

plaintiffs in the amount of $179,303.00. The Debtor filed a notice of appeal from that decision on


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April 6, 2020.

       5.        Balassa represented Debtor as its attorney in the Class Action Litigation. In this

Motion, the Debtor seeks approval to employ Balassa as special counsel in connection with the

Debtor’s appeal from the decision of the Circuit Court.

       6.        The Debtor has selected said law firm and attorney for the reason that the firm has

considerable experience in matters of this character, and the Debtor believes the firm is able to

represent it regarding its appeal.

       7.        The outcome of the appeal is vital to the success of the present Chapter 11 case.

McKay and the similarly situated class of plaintiffs are the largest creditor body of the Debtor.

The judgement in their favor was the single largest factor precipitating the bankruptcy case. The

Debtor believes it holds good and valid defenses to the Class Action Litigation, and it is vital to

the prospects of reorganization that the Debtor be able to employ an attorney for professional

services needed in connection with such claims.

       8.        To the best of Debtor’s knowledge, said law firm and its members have no

connection with the creditors, or any other party in interest, or their respective attorneys and

accountants, the United States trustee, or any person employed in the office of the United States

trustee, aside from those described in this motion and in the Declaration of Balassa filed

herewith.

       9.        The Debtor desires to employ the law firm under an hourly fee agreement, with its

fees subject to approval by the Court. The hourly billing rate for Balassa in the appeal shall be

$325 per hour. The Debtor has agreed to pay Balassa an initial retainer of $1,500 in connection

with the appeal, in addition to any reasonable costs incurred in connection with the litigation.


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       10.     Balassa is aware that all compensation and reimbursement of expenses are subject

to the approval of the Bankruptcy Court after proper notice and the opportunity for hearing.

       11.     Balassa does not represent any interest adverse to the Debtor or the estate in the

matters upon which he is to be engaged. Balassa incurred unpaid attorneys’ fees from the Debtor

prior to the filing of this case in the amount of $30,279.90. Balassa, however, has agreed to

waive its right to such fees in connection with this application, and accordingly, the Debtor is not

obligated to Balassa for any pre-petition fees or costs.

       12.     The Debtor submits that the employment of Balassa is in the best interests of the

estate, and the Debtors respectfully request the Court grant this application.

       WHEREFORE, the premises considered, it is prayed that this Honorable Court enter an

Order allowing the retention of the law firm of Paul C. Balassa as special litigation counsel for

the Debtor, and that the Debtor have such other and further relief as the Court determines is just

and proper in the circumstances.

                                       Respectfully submitted,

                                              COHEN BALDINGER & GREENFELD, LLC

                                              By: /s/Augustus T. Curtis
                                                    Augustus T. Curtis (Fed Bar No #26653)
                                                    2600 Tower Oaks Boulevard, Ste 103
                                                    Rockville, MD 20852
                                                    (301) 881-8300
                                                    Counsel for Debtor




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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Application, along with a copy of the
Declaration of Counsel and a proposed Order, were served electronically via the CM/ECF
system, this 1st day of August, 2020, to the Office of the United States Trustee.

                                     /s Augustus T. Curtis
                                     Augustus T. Curtis




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